Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 1 of 16 PageID 260




                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                        CASE NO. 19-CV-00448-VMC-CPT

   SECURITIES AND EXCHANGE COMMISSION,

                     Plaintiff,

   v.

   SPARTAN SECURITIES GROUP, LTD.,
   ISLAND CAPITAL MANAGEMENT LLC,
   CARL E. DILLEY,
   MICAH J. ELDRED, and
   DAVID D. LOPEZ,


                     Defendants.

   _______________________________________________/

        SECURITIES AND EXCHANGE COMMISSION’S RESPONSE IN OPPOSITION
           TO DEFENDANT MICAH J. ELDRED’S MOTION TO DISMISS (DE 22)


                                       Christine Nestor
                                       Senior Trial Counsel
                                       Fla. Bar No. 597211
                                       Telephone: (305) 982-6367
                                       Facsimile: (305) 536-4154
                                       E-mail: nestorc@sec.gov

                                       Wilfredo Fernandez
                                       Senior Trial Counsel
                                       Fla. Bar No. 142859
                                       Telephone: (305) 982-6376
                                       Facsimile: (305) 536-4154
                                       E-mail: fernandezw@sec.gov

                                       ATTORNEYS FOR PLAINTIFF
                                       SECURITIES AND EXCHANGE COMMISSION
                                       801 Brickell Avenue, Suite 1800
                                       Miami, Florida 33131
                                       Telephone: (305) 982-6300
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 2 of 16 PageID 261




                                             TABLE OF CONTENTS
                                                                                                             Page

   I.    INTRODUCTION .......................................................................................1

   II.   ARGUMENT ..............................................................................................2

         A. Eldred Improperly Goes Outside the Four Corners
            of the Complaint ....................................................................................2

         B. Eldred Misconstrues Rule 15c2-11
            of the Exchange Act ..............................................................................2

         C. Standard of Review ................................................................................4

         D. The Complaint is Not a Shotgun Pleading.............................................5

         E. The Commission has adequately alleged Eldred Violated
            Section 10(b) and Rule 10b-5(b) of the Exchange Act ..........................5

              1. Eldred made misrepresentations or omitted facts ...........................6

               2. The misrepresentations were material…………………………….7

              3. In connection with requirement is met.............................................8

              4. The Complaint adequately pleads scienter ......................................8

         F. The Commission’s Claims for Aiding and Abetting
            are Sufficiently Pled .............................................................................11

         G. The Commission has adequately Alleged Scheme Liability ...............12

         H. Eldred’s Statutue of Limitations Arguments Lack Merit ...................12

         I. If the Court Deems the Complaint Deficient, Leave
            to Amend is Warranted .......................................................................... 12

         J. Conclusion ...........................................................................................13




                                                                ii
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 3 of 16 PageID 262




                                               TABLE OF AUTHORITIES


   CASES
   Foman v. Davis, 371 U.S. 178 (1962) ...........................................................................................12
   La Grasta v. First Union Securities, Inc., 358 F.3d 840 (11th Cir. 2004) ......................................2
   Harris v. Ivax Corp., 182 F.3d 799 (11th Cir. 1999) ......................................................................2
   SEC v. Zouvas, 2016 WL 6834028 (S.D. Cal. Nov. 21, 2016) .........................................................8

   Witchard v. Allied Interstate, LLC, 2015 WL 6817163
      (M.D. Fla. Nov. 6, 2015)............................................................................................................2

   STATUTES

   Section 17(a) of the Securities Act of 1933 .....................................................................................6

   Section 10(b) of the Exchange Act of 1934 .................................................................................5, 6

   RULES

   Federal Rule of Civil Procedure 8(a) ...............................................................................................4

   Federal Rule of Civil Procedure 9(b) ............................................................................................. 4

   Federal Rule of Civil Procedure 15(a) ...........................................................................................12

   Rule 10b-5(b) of the Exchange Act of 1934 ................................................................................5, 6

   Rule 15c2-11 of the Exchange Act of 1934 .................................................................................2, 3

   OTHER AUTHORITIES

   Publication or Submission of Quotations Without Specified Information Exch. Act Rel. No.
   41110, 64 FR 11124 (Mar. 8, 1999) ..............................................................................................3




                                                                  iii
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 4 of 16 PageID 263




      I. INTRODUCTION
          Defendants Spartan Securities, Ltd. (“Spartan”), Island Capital Management LLC d/b/a

   Island Stock Transfer (“Island Stock”), David Lopez (“Lopez”), and Micah Eldred (“Eldred”)

   each move to dismiss the Complaint on nearly identical bases. (Compare DE 22 and 23). In fact,

   the motions recite nearly word for word many of the same arguments. Therefore, in an effort to

   avoid judicial waste, the Commission will exercise brevity wherever possible in this response to

   Eldred’s Motion to Dismiss (“Motion”). Where applicable, the Commission will incorporate by

   reference the arguments from DE 33, its Response to the Motion to Dismiss brought by Eldred’s

   co-Defendants (hereinafter “Resp. Section __, pg. __”).

          At Resp. Section I, pg. 1-3, the Commission summarizes the allegations of the Complaint

   and the role each Defendant, including Eldred, played in the frauds. More specifically, as to

   Eldred, he was the registered principal and representative of Spartan and CEO of Island, and he

   schemed with Michael Daniels, Andy Fan and Diane Harrison to defraud the public that the

   companies they manufactured were operating businesses with independent management and

   shareholders, rather than undisclosed blank check companies for sale. In furtherance of the

   scheme, Eldred filed false Forms 211 with FINRA, signed false securities deposit forms and

   executed open-market transactions in Spartan’s proprietary account. Eldred took these steps

   despite knowing, or being reckless in not knowing, from the onset that the blank check companies

   manufactured by Daniels, Fan and Harrison (undisclosed control persons) were not pursuing their

   stated business plans and instead were packaged for immediate sale as public vehicles. Eldred’s

   role in the fraudulent scheme was essential because it allowed the securities of the blank check

   companies to be sold in bulk under the false designation as free-trading. DE 1, Complaint at ¶¶
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 5 of 16 PageID 264




   1-9, 13, 16, 55, 100-122 (hereinafter “Compl. ¶__”). As described here and at Resp. Section II.

   C., pg. 6-9, the allegations of the Complaint satisfy the applicable pleading standards, and the

   Commission’s fulsome allegation of its causes of action requires denial of both motions. (DE

   22 and 23).

      II. ARGUMENT

      A. Eldred Improperly Goes Outside the Four Corners of the Complaint

          Eldred, like the remaining Defendants, attempts to inject contested facts beyond the

   four corners of the Complaint. Motion at pg. 1-2, 8-9, 14, 17-22, footnotes 2-5, 11, 17, 23-24,

   26, 29-30, 33-35. This is inappropriate at the pleading stage and is better suited for a motion

   for summary judgment, or for presentation before the jury. Cases cited by Eldred confirm that

   extrinsic evidence may be appended to a motion to dismiss and considered by the court when

   it is “central to the complaint” and “provided that its contents are not in dispute” (emphasis

   added). Harris v. Ivax Corp., 182 F.3d 799, 802 n.2 (11th Cir. 1999); La Grasta v. First Union

   Securities, Inc., 358 F.3d 840, 842 (11th Cir. 2004) (taking judicial notice of stock prices

   because they are not subject to reasonable dispute). Here, the Commission disputes not only

   the relevance of the extrinsic evidence Eldred offers, but also the accuracy. This Court has

   previously declined to consider such evidence in similar circumstances, and should likewise

   do so here. Witchard v. Allied Interstate, LLC, 2015 WL 6817163, at *2 (M.D. Fla. Nov. 6,

   2015) (declining to consider extrinsic matters).

      B. Eldred Misconstrues Rule 15c2-11 of the Exchange Act

          The first two pages of Eldred’s Motion misconstrue Rule 15c2-11 of the Securities

   Exchange Act of 1934 (“Exchange Act”). For example, Eldred contends that a broker-dealer



                                                  2
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 6 of 16 PageID 265




   satisfies its obligation to gather and maintain information if it has, in its possession, a

   prospectus that has been filed with the Commission. Motion at pg. 1. In support of this

   position, Eldred provides a hyperlink to extrinsic information purportedly found on FINRA’s

   website as of April 18, 2019 (years after the conduct at issue here). His citation of this type of

   information is wholly improper as set for in Section A. above.

          Additionally, Eldred’s argument is nearly the same as that presented by the co-

   Defendants in their Motion. As explained at Resp. Section II. B., pg. 5, Rule 15c2-11 expressly

   requires that broker-dealers seeking to initiate price quotations obtain, review, and maintain

   certain information about the issuer required by Rule 15c2-11(a) (e.g. public filings).

   Considering that information, plus “any other material information (including adverse

   information) regarding the issuer” in its possession, Rule 15c2-11(b)(3), the broker-dealer must

   have a reasonable basis to believe that the information required by subsection (a) is accurate

   in all material respects and its source is reliable. In other words, Rule 15c2-11 prohibits blanket

   reliance on public filings. Rather, the broker-dealer must review the required information “in

   the context of all other information about the issuer in its knowledge or possession.”

   Publication or Submission of Quotations Without Specified Information, Exch. Act Rel. No.

   41110, 64 FR 11124, 11149 (Mar. 8, 1999). The broker-dealer must be alert to any “red flags,”

   for example, material inconsistencies between that information and other information in the

   broker-dealer’s knowledge or possession. Id. at 11147 – 49. If red flags appear at any stage

   of the review process, the broker-dealer “cannot” publish quotations unless and until those red

   flags are reasonably addressed. Id. at 11149. In fact, the Complaint specifically alleges

   Eldred’s awareness of Daniels, Fan and Harrison’s control, substantially cast doubt on the



                                                   3
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 7 of 16 PageID 266




   accuracy of the filings which should have raised red flags. See Compl. ¶ 100-122. Therefore,

   Eldred was obligated to address red flags and other adverse information in his possession about

   the issuer before initiating price quotations.

      C. Standard of Review

            Eldred moves to dismiss the Complaint arguing the Commission has (1) failed to

    comply with Federal Rules of Civil Procedure 8(a) and 9(b); (2) improperly brought a

    “shotgun” pleading; and (3) failed to state a cause of action pursuant to Rule 12(b)(6). Here,

    many of Eldred’s arguments are verbatim the same as those presented by his co-Defendants.

    (Compare DE 22, pg. 3-11 with DE 23, pg. 7-16). Therefore, the Commission will only

    briefly summarize our response to each argument below.

            Regarding Eldred’s contention that the Commission has failed to comply with Rules

    8(a) and 9(b), applicable case law found at Resp. Section II. C., pg. 6-8, and the expansive

    allegations pled against Eldred, support denial of his Motion. The Commission’s detailed

    Complaint, which includes underlying facts of who, what, when, where, and how satisfies

    the requirements for pleading fraud with particularity.

            For example, Eldred has been the registered principal and representative of Spartan

    and CEO of Island during all times applicable to the allegations of the Complaint. Compl.

    ¶16. Eldred schemed with Daniels, Fan and Harrison to defraud the public that the blank

    check companies were actually operating businesses with independent management and

    shareholders. Compl. ¶¶6, 100-122. Eldred filed false Forms 211 with FINRA, signed false

    securities deposit forms and executed trades in Spartan’s proprietary account, all in support




                                                    4
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 8 of 16 PageID 267




       of the manufacture of undisclosed public vehicles – one of which Eldred expressly proposed

       to acquire himself while its Form 211 was pending. Id. 1

               In addition to the detailed summary of the frauds at issue, the Defendants’ respective

       roles, and other key players (Compl. at ¶¶ 1-22) the Complaint also clearly delineates the two

       shell factory frauds at issue here, “A. The Mirman/Rose Shell Factory (Compl. at ¶¶ 26 – 99),

       and “B. The Daniels/Fan/Harrison Shell Factory” (Compl. at ¶¶ 100 – 122). The Commission

       further provides five charts (Compl. at ¶¶ 30, 35, 66, 72, 102) which provide expansive details

       of the frauds as described at Resp. Section II. C., pg. 8. In light of the breadth of the allegations

       contained in the Complaint, and for the reasons further set forth here and at Resp. Section II.

       C., pg. 6-9, the Court should deny Eldred’s claim that the Commission has failed to plead

       fraud with particularity or that it has failed to state a cause of action against any of the

       Defendants.

         D. The Complaint is Not a Shotgun Pleading

             Eldred’s argument that the Commission’s Complaint is an improper “shotgun

   pleading” is identical to the argument presented by his co-Defendants. (Compare DE 23, pg.

   9 with DE 22, pg. 5). Thus the Commission incorporates its response to that argument here.

   Resp. Section II. D., pg. 9-10.

         E. The Commission has adequately alleged Eldred Violated Section 10(b) and Rule
            10b-5(b) of the Exchange Act
             Eldred contends that the Commission has failed to allege he “made” material

   misrepresentation or omission and if he did, none were made to the investing public, therefore


   1
     His actions are attributable to not only his only personal liability, but to Spartan and Island’s liability regarding
   the Daniels/Fan/Harrison fraudulent scheme.



                                                             5
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 9 of 16 PageID 268




   Count VI (violations of Section 10(b) and Rule 10b-5(b)) should be dismissed. While Eldred

   mentions in the title to this section of his motion (Motion pg. 6) that he also seeks to dismiss

   Count XII (aiding and abetting Daniels/Fan/Harrison’s violations of Section 10(b) and Rule

   10b-5(b)) he does not provide discussion of this Count until pg. 23 of his Motion. Thus, the

   Commission addresses his arguments related to the aiding and abetting claims in Section F.

   below. Additionally, Eldred mentions in passing “Counts 3 and 6 must be dismissed” (Motion

   pg. 11), however, Eldred offers no discussion in the Motion regarding Count III (violation of

   Section 17(a)(1) of the Securities Act). In any event, the Commission incorporates here the

   arguments made at Resp. Section II. E., pg. 10-20.

           1. Eldred made misrepresentations or omitted facts

          The Complaint sufficiently alleges false statements made by the Defendants. Eldred

   glosses over the numerous allegations which set forth his misrepresentations and omissions to,

   among others, the Commission, FINRA, DTC, and Spartan’s clearing firm. Instead, Eldred

   places blame on the blank check companies. Motion at pg. 6-7. For example, Eldred neglects

   to acknowledge that the Commission alleges among other things that:

   •   Eldred signed four false Form 211 forms for the blank check companies. Compl. ¶¶ 102,

       112, 115.

   •   Eldred signed securities deposit forms misrepresenting that Daniels was never an affiliate

       of Dinello/AF Ocean. Compl. ¶ 109.

   •   Eldred signed three Forms 211 misrepresenting that each issuer was pursuing local

       business operations with no plans for mergers or changes in control, despite knowing this

       was false. Compl. ¶ 115. The Forms 211 submitted by Spartan also misrepresented how



                                                  6
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 10 of 16 PageID 269




        Spartan was solicited to file the Forms 211 and also misrepresented to FINRA that it had

        no relationship with any officer or representative of the issuer. Compl. ¶¶ 116-117.

    •   Eldred approved Spartan’s misrepresentation to FINRA that shareholders had purchased

        their shares, while knowing that Daniels and Harrison had instead paid for all the shares.

        Compl. ¶ 122.

             2. The misrepresentations were material

            As a general matter, between pages 8 and 22, Eldred repeatedly cites to disputed facts

    beyond the four corners of the Complaint. He also mistakenly cites as legal authority

    information found on FINRA’s website as of April 18, 2019 2. Putting aside for the moment

    issues of hearsay and whether the FINRA information existed during the relevant time period,

    this information is certainly not relevant at the pleading stage because none of it was alleged

    in the Complaint. Accordingly, the Court should disregard Eldred’s arguments that rely upon

    references and citations to documents that are outside the four corners of the Complaint.

            Eldred, like his co-Defendants, downplays his role in the fraudulent scheme and boldly

    contends that any statements attributable to him are not material. Motion at pg. 7. As more

    fully described at Resp. Section II. E. 3., pg. 13, this argument is not yet ripe. In any event,

    Eldred’s statements, as described above, are certainly material. See Resp. Section II. E. 3., pg.

    13-15 for relevant case law regarding materiality.

            Eldred later contends that his statements are not material because the Form 211

    application process is “private.” Motion pg. 10. The Commission at Resp. Section II. E. 3., pg.



    2
      We must also wonder whether the materials even existed during the relevant time period of this case. Further
    illustrating why injecting this information is improper at the pleading stage, before discovery has ensued.



                                                          7
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 11 of 16 PageID 270




    15-16 provides applicable case law that dictates that the fact that a statement is made in private

    rather than to the public does not foreclose a statement’s materiality.

            3. In connection with requirement is met

           Eldred makes the same flawed argument as his co-Defendants that the Commission

    fails to meet the “in connection with” requirement because the false statements were not made

    to the investing public. Compare DE 23, pg. 15 and DE 22, pg. 11. As set forth at Resp. Section

    II. E. 3., pg. 15-16, this argument is contrary to established case law.

           Eldred later (Motion at pg. 23) makes the contention that the Complaint does not

    “identify the purchase or sale of any security with regard to the four Harrison companies” and

    therefore the Commission cannot establish the “in connection with” element.              Eldred’s

    argument lacks merit. See Resp. Section II. E. 4., pg. 16, and SEC v. Zouvas, 2016 WL 6834028,

    at *7-9 (S.D. Cal. Nov. 21, 2016) (stating that “the ‘in connection’ condition is met if the fraud

    alleged ‘somehow touches upon’ or has ‘some nexus with ‘any securities transaction’”) (citations

    omitted). There can be no question that Eldred’s actions here, which allowed the securities of

    blank check companies to be eligible for public quotation, open-market trading and clearing, were

    “in connection with” the purchase or sale of a security.

            4. The Complaint adequately pleads scienter

           Like his co-Defendants, Eldred seeks to dismiss Counts III and V-VII contending that

    the Complaint (1) does not plead facts with particularity pursuant to Rule 9(b) or the more

    general standard under Rule 8(a) and (2) the red flags identified in the Complaint are

    insufficient to establish Eldred’s scienter. (Compare DE 23, pg. 11 with DE 22, pg. 16). See

    Resp. Section II. E. 5., pg. 16-19 for a detailed discussion of the relevant case law which



                                                     8
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 12 of 16 PageID 271




    establishes that the Commission has adequately pled scienter.

            The Commission pleads facts that make clear Eldred acted fraudulently and with

    scienter, but also has pled facts establishing Eldred’s severe recklessness. See also Section E.

    2 above. There can be no doubt that the Commission alleges Eldred schemed with Daniels,

    Fan and Harrison to defraud the public – with detailed allegations of both the source and extent

    of Eldred’s awareness and also his specific contributions to the scheme. See generally Compl.

    ¶¶ 5-6, 55, 100-122.

            Eldred next contends that there are no facts to support Eldred knew the companies were

    shells. Motion at pg. 13-14. Here again, Eldred uses documents found outside the four corners

    of the Commission’s Complaint. Referring to Dinello/AF Ocean, Eldred states “the public

    filings show the company was not a ‘shell’”. Motion at pg. 13. Not only does Eldred expect

    the Court to analyze information outside the four corners of the Complaint, but he also expects

    the Court to accept them as true. The Court should do neither. Instead, the Court should accept

    as true the well-pled allegations of the Complaint regarding Dinello/AF Ocean which provide

    that:

    •   Eldred understood Daniels to be a principal (albeit undisclosed) of Dinello/AF Ocean.

        Compl. ¶ 105.

    •   Eldred had red flags that Dinello/AF Ocean was intended to be sold from the onset. Compl.

        ¶ 103-105. In June and July Eldred communicates via email describing Dinello/AF Ocean

        as a shell. Compl. ¶ 111.

    •   Spartan filed Dinello/AF Ocean’s Form 211 in May 2011 misrepresenting among other

        things, that the current and future business plan was the operation of a pizzeria. Compl. ¶



                                                   9
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 13 of 16 PageID 272




        106.

    •   Soon after Form 211 clearance, Eldred communicates via email regarding locating a

        prospective buyer for Dinello/AF Ocean. Compl. ¶ 107.

    •   Eldred assisted Daniels with DTC eligibility for Dinello/AF Ocean. Compl. ¶ 108.

    •   Eldred signed securities deposit forms misrepresenting that Daniels was never an affiliate

        of Dinello/AF Ocean. Compl. ¶ 109. The false securities deposit forms were needed to get

        Daniels’ shares deposited and to execute a public trade to resolve a DTC freeze so that

        public trading could resume. Compl. 108-110. The necessary public trade was between

        Daniels (seller) and the Spartan’s proprietary account (buyer) to have the appearance of a

        legitimate public trade to restore DTC eligibility for further public trading to be

        allowed. Emails with Eldred explicitly detail that this was done to resolve the DTC issue.

        Id.

              Remarkably, in the face of the specific allegations above, Eldred asks this Court to

    dismiss the Complaint because there are “no facts to support” the allegations that Eldred knew

    the company was a shell. As illustrated by the allegations above, Eldred’s contention wholly

    lacks merit.

              Eldred next asks the Court to disregard the allegations of the Complaint surrounding

    Daniels’ control of Dinello/AF Ocean and its intended merger. Motion at pg. 16-18. Once

    again Eldred injects numerous disputed facts from filings not within the four corners of the

    Complaint. For the reasons stated above, the Court should disregard this information, which

    even if accepted as true, does not negate the Commission’s well-pled allegations as

    summarized in the bullet points above.



                                                   10
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 14 of 16 PageID 273




            In fact, Eldred’s Motion at pages 17-22 similarly present arguments attempting to refute

    Eldred’s scienter by introducing extrinsic evidence related to some of the Commission’s

    allegations. Eldred asks the Court to accept as true his extrinsic evidence in order to conclude

    that the Commission’s well-plead allegations are basically overstated or false. Such arguments

    are wholly improper on a motion to dismiss and should be summarily disregarded. The

    Commission reiterates that the allegations pled in its Complaint, some of which are

    summarized in this Section, amply support the causes of action brought against Eldred and

    satisfy the pleading requirements.

        F. The Commission’s Claims for Aiding and Abetting are Sufficiently Pled

            Eldred’s contention related to the Commission’s Counts for aiding and abetting are

    identical to those raised by his co-Defendants. (Compare DE 23, pg. 23 with DE 22, pg. 23).

    Accordingly, the Commission incorporates here the arguments presented at Resp. Section II.

    F., pg. 20-22.

            Additionally, the Complaint sufficiently pleads that Eldred substantially assisted

    Daniels, Fan and Harrison’s fraudulent manufacture of undisclosed blank check companies,

    which allowed Daniels, Fan and Harrison to sell all shares under their control without

    registration. Central to the fraud were the public quotation, DTC eligibility, and bulk transfer

    of the securities. Eldred knew, or was reckless in not knowing, that Daniels, Fan and Harrison

    were manufacturing the blank check companies in routine fashion for sale as public vehicles

    based, in part, on his own personal participation in several sales of these very same companies.

    Accordingly, for the reasons set forth above, there is no basis to dismiss the aiding and abetting

    counts of the Complaint.



                                                   11
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 15 of 16 PageID 274




        G. The Commission has adequately alleged scheme liability

            Eldred’s argument that the Commission has insufficiently pled scheme liability is the

    same as that presented by his co-Defendants. (Compare DE 23, pg. 26 with DE 22, pg. 26).

    Thus, the Commission incorporates here the arguments presented at Resp. Section II. G., pg.

    22. Additionally, we incorporate here the allegations and argument made in Section I. and II.

    E. of this response and further reiterate that the Commission’s Complaint pleads an abundance

    of allegations which show Eldred schemed with Daniels, Fan and Harrison including Eldred’s

    filing of false Forms 211 with FINRA, signing false securities deposit forms and executing

    trades in Spartan’s proprietary account.

        H. Eldred’s Statute of Limitations Arguments Lack Merit

        Eldred and his co-Defendants make the identical argument that (1) the five-year limitations

    period governing actions seeking a “fine, penalty, or forfeiture,” 28 U.S.C. § 2462, applies to

    the Commission’s claims for injunctions and penny stock bars, and (2) the Court should

    dismiss the Commission’s claims “insofar as they rely on transactions outside the limitations

    period.” (Compare DE 23, pg. 31 with DE 22, pg. 27). As shown below, both arguments fail

    for the reasons set forth at Resp. Section II. I., pg. 26-30.

        I. If the Court Deems the Complaint Deficient, Leave to Amend is Warranted

            As shown above, the commission’s Complaint meets the federal pleading standards.

    If, however, the Court finds a deficiency in the Complaint, the Commission respectfully

    requests the Court grant leave to amend its pleading. At most, the motion relates to curable

    pleading deficiencies, not irreparable flaws that cannot be fixed with an amended pleading.

    See Fed. R. Civ. P. 15(a) and Foman v. Davis, 371 U.S. 178, 182 (1962).



                                                     12
Case 8:19-cv-00448-VMC-CPT Document 34 Filed 05/24/19 Page 16 of 16 PageID 275




       J. Conclusion
           For all the foregoing reasons, the Commission respectfully requests that the Court deny

    Eldred’s motion to dismiss.


    Dated: May 24, 2019                  BY:    s/Christine Nestor
                                                Christine Nestor
                                                Senior Trial Counsel
                                                Fla. Bar No. 597211
                                                Telephone: (305) 982-6367
                                                Facsimile: (305) 536-4154
                                                E-mail: nestorc@sec.gov

                                                Wilfredo Fernandez
                                                Senior Trial Counsel
                                                Fla. Bar No. 142859
                                                Telephone: (305) 982-6376
                                                Facsimile: (305) 536-4154
                                                E-mail: fernandezw@sec.gov

                                                ATTORNEYS FOR PLAINTIFF
                                                SECURITIES AND EXCHANGE COMMISSION
                                                801 Brickell Avenue, Suite 1800
                                                Miami, Florida 33131
                                                Telephone: (305) 982-6300




                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 24, 2019, I electronically filed the foregoing

    document via the Court’s CM/ECF electronic filing system, which provides notice to all

    counsel of record.


                                                        BY: /s/Christine Nestor




                                                 13
